                 Case 17-30541-VFP                       Doc 49
                                    Filed 06/30/22 Entered 06/30/22 15:31:35                                       Desc Main
                                    Document     Page 1 of 1
         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY
         Caption in Compliance with D.N.J. LBR 9004-1(b)
         Denise Carlon Esquire
         KML Law Group, P.C.
         701 Market Street, Suite 5000
         Philadelphia, PA 19106
         Main Number: (609) 250-0700
         dcarlon@kmllawgroup.com
         Attorneys for U.S. Bank Trust National Association, not in its
         individual capacity, but solely as Trustee of LSF9 Master
         Participation Trust




                                                                                   Case No: 17-30541 VFP

                                                                                   Chapter: 13

                                                                                   Judge: Vincent F. Papalia
        In Re:
        Lelia M. Garvin a/k/a Lelia M. Garvin-Cook

                                                       Debtor(s).


                                                                       NOTICE OF APPEARANCE

                          Please take notice that in accordance with Fed R. Bankr. P. 9010(b) the undersigned enters an
                  appearance in this case on behalf of U.S. Bank Trust National Association, not in its individual capacity,
                  but solely as Trustee of LSF9 Master Participation Trust. Request is made that the documents filed in this
                  case and identified below be served on the undersigned at this address:

                  ADDRESS:

                  701 Market Street, Suite 5000
                  Philadelphia, PA 19106

                  DOCUMENTS:

                   All notices entered pursuant to Fed. R. Bankr. P. 2002.
                  All documents and pleadings of any nature.

                  Date: 06/29/2022
                        ${d:1:y:____________}                                      /s/${s:1:y:______________________________}
                                                                                     Denise Carlon
                                                                                     29 Jun 2022, 16:30:59, EDT
                                                                                   KML Law Group, P.C.
                                                                                   701 Market Street, Suite 5000
                                                                                   Philadelphia, PA 19106
                                                                                   201-549-2363
                                                                                   FAX: (609) 385-2214
                                                                                   Attorney for Creditor




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